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 1   CRIMINAL DEFENSE ASSOCIATES
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 5
     Attorneys for Defendant
 6
     KUEN SUNG LEE
 7

 8                              UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,         )                  Case No: CR-05-00395 CRB
                                       )
12                                     )                  STIPULATION MODIFYING
                     Plaintiff,        )                  CONDITIONS OF RELEASE
13
               vs.                     )                  FOR KUEN SUNG LEE; ORDER
14                                     )
     YOUNG JOON YANG, et al.           )
15                                     )
16                   Defendants.       )
                   ___________________ )
17
18           The Parties: The United States of America, by and through its counsel of record, Assistant

19   United States Attorney, Peter Axelrod and defendant, Kuen Sung Lee, by and through his counsel of
20   record, Alan Baum, hereby stipulate to an Order of the Court modifying the conditions of his release to
21   allow Defendant Kuen Sung Lee to travel throughout the State of California so long as prior notice of

22   the dates of travel and the place of travel is given to, and approved by, PreTrial Services. The parties

23   further Stipulate that the PreTrial Services Officer assigned to this case, Jaime Carranza, has been

24   contacted and has indicated no objection to the proposed Order.

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 1

 2
            IT IS SO STIPULATED.
 3
 4

 5   Date: July 20, 2005                             /s/ Alan Baum
                                                    Alan Baum
 6
                                                    Attorney for Defendant, Kuen Sung Lee
 7

 8   Date: July 20, 2005                            /s/ Peter Axelrod                .
 9                                                  Peter Axelrod
                                                    Assistant United States Attorney
10                                                  Attorneys for Plaintiff
11                                                  United States of America

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14
15                                                ORDER
            The parties’ Stipulation regarding modifying the terms of defendant’s release is hereby ordered.
16
17
            IT IS SO ORDERED.
18

19
     August 26, 2005                                _______________________________
20                                                  Charles R. Breyer,
                                                    Judge of the U.S. District Court
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